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EXHIBIT A

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IN THE CIRCUIT COURT FOR THE 15TH JUDICIAL CIRCUIT

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Mar 23 2071
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IN AND FOR PALM BEACH COUNTY, FLORIDA

MARLENE BENNETT, CASE NO. 502009CA014458
Civil Division “AA” Chinese Drywail
Plaintiff,
VS.
CENTERLINE HOMES INC., et al.,
Defendants.

OMNIBUS ORDER ON PLAINTIFFS’ NEGLIGENCE CLAIMS

The court has under consideration the homebuilder defendants’ Omnibus Motion to Dismiss
Plaintiff Homeowners’ Negligence Claims. The installer and supplier defendants have each filed
amicus briefs in support of the homebuilders’ motion. The issue now before the court has been fully
briefed, and was argued at the case management conference held on February 25, 2011. Having .
reviewed the submissions of the parties, and having heard the argument of counsel, the court makes
the following findings.

The issue before the court is whether the plaintiffs can state a claim for negligence against

any of the defendants (homebuilders, installers or suppliers), Each class of defendant argues that a -

claim sounding in negligence is not available to the plaintiffs as there was no duty to protect the

plaintiffs from an unknown and unforeseeable harm. Al! parties concede that the issue of whether
a duty exists in a negligence action is a question of Jaw. Michael & Phillip, Inc. » Sierra, 776
So.2d 294, 296 (Fla. 4" DCA 2000).

The court will first address whether there exists a general duty to inspect or test the Chinese
manufactured drywall for a latent defect, or to warn homeowners of the existence of a latent defect

in the drywall. It appears clear that such a duty does not exist here.

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Florida law does not impose a duty to inspect a product for a latent defect, or to warn others
about a latent defect, unless the product is inherently dangerous. See Mendez v Honda Motor Co.,
738 F.Supp, 481 (SD. Fla, 1990); K-Mart Corp. v. Chairs, Inc., 506 $0,2d 7, 8 u. 3 @la. Sth DCA
1987) (retailers have no duty to inspect for latent defects.), review denied, 513 So.2d 1060
(Fla.1987); Dayton Tire and Rubber Co. v. Davis, 348 S0.2d 575, 582 (Fla. ist DCA 1977) (No.
duty to warn or inspect unless inherently dangerous.), guashed on other grounds, 358 So.2d 1339
(Fla.1978); Odum v, Galf Tire and Supply Company, 196 F.Supp. 35 (ND Fla.1961). A product is
inherently dangerous if it is “burdened with a latent danger which derives from the very nature of -
the article itself” Tampa Drug Co. v. Wait, 103 So.2d 603, 608 (Fla.1958), Chinese manufactured
drywall, while apparently defective, cannot be categorized as inherently dangerous.

To the extent the plaintiffs seek to state a claim sounding in negligence based on a general
duty to inspect, test or warn, such a claim is not available. However, this does not end the inquiry.
The defendants, in any class, could be held liable in negligence if they had actual or implied notice
of the defect in the Chinese manufactured drywall. Carter v, Hector Supply Co., 128 So.2d 390,
392 (Fla. 1961); Ryan v, Atlantic Fertilizer & Chemical Co., 515 $o.2d 324, 326 (Fla. 3 DCA
1987). .

Notice must be determined on an individual, case by case, basis. The court cannot,
therefore, hold that all negligence claims are barred on an omnibus basis. To the extent the
plaintiffs can, in good faith, plead notice against an individual defendant in a specific case, such a

claim will survive a motion to dismiss,

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' The court is cognizant of the fact that as to certain defendants, the plaintiffs have not pled
notice. If not amended, these claims will be dismissed,! To the extent the plaintiffs have alleged
notice in individual cases, negligence claims in these cases will survive dismissal at this stage.

Based on the foregoing, it is hereby,

ORDERED AND ADJUD GED that the defendants’ omnibus motion to dismiss the
plaintiffs’ negligence claims is granted, in part, and denied, in part. Any claim based on a general
duty to test or inspect for, or to warn of, a latent defect in Chiness manufactured drywall will be

_ dismissed, Claims based on actual or implied notice of the defect will not be dismissed. This order
is being entered on an omnibus basis and will be applied to individual cases as required.

DONE AND ORDERED in Chambers, at West Palm Beach, Palm Beach County, Florida

this /¥ “ay of March, 2011

an KM

JUDGE GLENN D. KELLEY
CIRCUIT COURT JUDGE

Copies furnished to:

Plaintiffs’ Liaison Counsel, C, David Durkee, Esq., 121 Alhambra Plaza, Suite 1603, Coral Gables,
FL 33134; Defendants’ Liaison Counsel, Todd R, Ehrenreich, Esq. and Michael A. Sexton, Esq,,
2601 S. Bayshore Drive, Suite 850, Miami, FI. 33133; and for distribution to all parties by
electronically uploading the same to LexisNexis File & Serve in accordance with the Electronic
Service Order entered in this case. ‘

‘Yn such cases, the Plaintiffs will need to determine whether there is a good faith basis to allege

notice,
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EXHIBIT B-

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IN THE CIRCUIT COURT FOR THE ISTH JUDICIAL CIRCUIT eine
iN AND FOR PALM BEACH COUNTY, FLORIDA 3:14PM
MARLENE BENNETT, CASE NO, 50 2009 CA 014458

Civil Division “AA” Chinese Drywall
Plaintiff,
VS,

CENTERLINE HOMES INC.,, et al.,

Defendants.

OMNIBUS ORDER ON PENDING MOTIONS TO DISMISS

The Court has under consideration the following omnibus motions: 1)
Homebuilder Defendants Omnibus Motion to Dismiss Plaintiff Homeowners’ Tort
Claims Under the Economic Loss Rule and Claims for Private Nuisance (jomed by the
Albanese-Popkin defendants); 2) Banner Supply Company’s Omnibus Opening Brief On
Economic Loss Rule and Nuisance Goined by certain installer defendants); 3)
Homebuilder Defendants Omnibus Motion to Dismiss Plaintiff Homeowners’ Strict
Liability Claims. The omnibus motions now before the Court have been fully briefed,
and were argued at scheduled case management conferences. Having reviewed the

submissions of the parties, and having heard the argument of counsel, the Court makes

the following findings,

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The first issue for consideration is fe application of Florida’s econanuc loss mule
to the tort claims asserted by the homeowner plaintiffs. The Supreme Court discussed at
length the origins and application of the economic loss rale in Indemnity Insurance

Company of North America y, American Aviation, Inc., 891 So.2d 532 (Fla, 2004).

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The economic loss nule is a limitation on tort claims where the damages suffered
are economic losses. Economic losses are defined as damages for inadequate value,

costs of repair and replacement of defective products, or loss of profits. Id. at 536: see

also, Casa Clara Condominium Association, Inc. v. Charley Toppino & Sons, Inc. 620°

So.2d 1244 (Fla, 1993). These damages are also described as the loss of the “benefit of
the bargain” or “disappointed economic expectations.” Indemnity Insurance, id at 536,

All of the parties here acknowledge that the economic loss rule would not bar a
claim for personal injury caused by defective Chinese manufactured drywall. Therefore,
to the extent that the pleintiff homeowners are suing in tort for personal injury, the
economic loss rule does not apply and such claims are not subject to dismissal. The issue
is whether- and to what extent - the economic loss rule bars the recovery of economic
damages in the pending Chinese drywall cases.

The Supreme Court made clear in Indemnity Insurance that the economic loss rale
applies in two distinct circumstances. First, the rule applies to parties in contractual
privity for matters arising out of the contract. Second, the rule applies to Hability for a
defective product that causes damage to the product, but causes no personal injury or
damage to other property. Both applications of the rule must be examined here.

1. Contractual Privity Economic Loss Rule

Fhe defendant homebuilders assert that tire plamtiff homeowners are barred from

asserting tort claims for their economic losses based on the application of the contractual

privity economic loss rule. The Court agrees.
The Supreme Court in Indemnity insurance explained the rational for application

of the contractual} privity economic loss rule as follows:

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A party to a contract who attempts to circumvent the contractual agreement by
making a claim for economic loss in tort is, in effect, seeking to obtain a better
bargain than originally made. Thus, when the parties are in privity, contract
principles are generally more appropriate for determining remedies for
consequential damages that the parties have, or could have, addressed through
their contractual agreement. Accordingly, courts have held that a tort action is
barred where a defendant has not committed a breach of duty apart from a breach

of contract. Indemnity lusurance, id at 536-537.

The plaintiffs’ tort claims for economic losses against defendants in contractual
privity fall squarely within the scope of the exclusionary rule expressed by the Supreme
Court.

There are recognized exceptions to application of the contractual privity economic
loss rule. Independent torts such as fraud in the inducement are not barred by the
economic loss rule, HTP, Lid. v. Lineas Aereas Costarrricenses, S.A., 685 So.2d 1238
(Fla, 1996), Claims for negligence in rendering professional services are not barred.
Moransais v. Heathman, 744 So,2d 973 (Fla, 1999). Likewise, statutory claims are not
barred by the economic loss rule. Comptech Intern, Inc. vy. Milan Commerce Park, Ltd.,
753 So.2d 1219 (Fla. 1999).

None of the recognized exceptions apply here! The damages sought by the

plaintiff homeowners arise out of the contracts they entered with the defendant

homebuilders. Traditional contract damages must be applied to the economic losses

suffered by the plaintiffs _ -

‘it is clear that homeowners are not exempt from the application of the economic loss
rule on public policy grounds, Casa Clara Condominium Association, Inc. v, Charley
Toppino & Sons, Inc., 620 So.24 1244, 1247 (Fla. 1993) (refusing to exempt homeowners
from the economic loss rule despite their status as “an appealing, sympathetic class”).
Moreover, the Court will not create an exception to the contractual privity economic loss
rule based on an assertion that the drywall is an unreasonably dangerous product.

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2. Products Liability Economic Loss Rule

The products liability economic Joss rule applies in limited circumstances
notwithstanding the absence of privily. The rule applies when the product causes
damage to itself, but causes no personal injury or damage to other property. The issue
here is whether the plaintiff homeowners’ tort claims against the defendant suppliers and
installers -- who are not in privity with the plaintiffs - are barred by the economic loss
rule, The Court holds that such claims are not barred.

It appears clear from the Supreme Court’s discussion in Indemnity Insurance that
application of the products liability economic loss rule is limited. That is to say, the
Supreme Court made clear that the products lability economic loss rule should not be
extended beyond its intended purpose, and the rule must only be applied in those limited
circumstance where all elements necessary for its application have been satisfied.

The Court has considered the well-reasoned discussion of the economic loss rule
in Judge Fallon's order in In Re Chinese Manufactured Drywall Products Liability
Litigation, 680 F.Supp.2d 780 (N.D. Louisiana 2010). Judge Fallon traces the origins
and history of the rule in Florida (and elsewhere) and discusses the application of the
economic loss rule to non-privity defendants in the multi-district Chinese drywall

litigation.

—itis not nevessury to repeat here the analysis of Sudge Eation in considering the

application of the économie loss rule to non-privity defendants. However, the Court will
briefly address Judge Fallon’s conclusion — a conclusion which this Court adopts.
Judge Fallon essentially concludes that the Chinese drywall at issue here presents

a unique factual scenario that does implicate the products lability economic loss rule at

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all, The factual distinction lies in the nature of the alleged defect and its impact, or lack
thereof, on the product itself.

In cases like Casa Clara, the defect in the product damaged the product itself,
The defect in the concrete caused the concrete to fail and, presumably, to damage other
components of the home. Here, the alleged defect does not damage or affect the product
(Chinese manufactured drywall) at all.

In defining the application of the products liability economic loss rule, the
Supreme Court has stated that the rule is implicated where “there is a defect in a product
that causes damage to the product, but causes no personal injury or damage to other
property.” Indemnity Insurance, id. 536 [emphasis added], Here the alleged defect
causes no damage to the product and causes only personal injury or damage to other
property. Under such unique circumstances, the Court agrees that the products Hability

economic loss rule does not apply.

Private Nuisance

The Court will next consider whether plaintiff can state a claim for private
nuisance based on the allegation that the Chinese manufactured drywall is off-gassing
causing a nuisance within the effected homes. All defendants assert that the claim for

private nuisance under such circumstances cannot be asserted. The Court agrees with the

Florida law essentially defines nuisance as:

using one’s property as to injure the land or some incorporeal rignt of
one’s neighbor... The law of nuisance plays between two antithetical
extremes: The principle that every person is entitled to use his property for
any purpose that he sees fit, and the opposing principle that everyone is
bound fo use his property in such a marmer as not to injure the property or
tights of his neighbor... The law of private nuisance is a law of degrce; it

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generally turns on the factual question whether the use to which the
property is put is a reasonable use under the circumstatices.

Beckman y. Marshall, 85 So. 2d 552, 554-55 (Fla, 1956) (approving and adopting
the language of Antonik v. Chamberlain, 78 N.E.2d 752 (Ohio Ct. App., 1947}.
Plaintiffs assert that there is no exhaustive definition of what constilutes a

nuisance citing Windward Marina, L.L.C. v, City of Destin, 743 So. 2d 635 (Fla, 1st DCA

1999), While this may be true, Florida law recognizes that the doctrine of private

nuisance is essentially a mechanism which protects the property rights of one land owner
from the unrestrained exercise of the property rights of another. Jones v. Trawick, 75 So.
2d 785, 787 (Fla. 1954) (“This court recognizes that the law of private nuisance is
bottomed on the fundamental rule that every person should so use his own property as not
to injure that of another”) (citing Reaver v. Martin Theatres of Florida, Inc., 52 So. 2d
682 (Fla. 1951). Tt seems clear that the underlying policy of private nuisance
jurisprudence does not support the plaintiffs’ application of the doctrine of private
miisance in this case,

Plaintiffs rely heavily on the four-part fest for proving the existence of a private
nuisance purportedly established by the Court in Beckman. According to the plaintiffs,
none of the four components makes any mention of a requirement that a private nuisance

mast involve two landowners. However, such a roadmap for establishing a private

" nuisance is neither expressed nor inmplied by the Court in Beckman.

In fact, much of the instructive language in Beckman seems to contradict the
plaintiffs’ position that nuisance actions do not necessarily involve contemporaneous and

proximate private land owners. Beekman, id at 555 (“no one has absolute freedom in the

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use of his property, because he must be restrained in his use by the existence of equal
rights of his neighbor to the use of his property.”). fad.

Further, none of the cases plaintiffs rely on directly support the contention that a
nuisance may exist absent a defendant’s exercise of its property rights, See, e.g., Davey
Compressor Co. v. City of Delray Beach, 639 So. 2d 595 (Fla. 1994) (holding that a
defendant who illegally disposed of a highly toxic solvent by dumping it onto the grounds
at the rear of its facility created a nuisance because it contaminated plaintiff's water
supply); Xotcher v. Santaniello, 438 So. 2d 440, 441 (Fla. 1983) (declining fo reverse an
injunctive order which was “principally predicated upon a determination that the
appellants’ conduct in keeping and training dogs for attack and security purposes
constituted a nuisance in the residential neighborhood where all of the parties resided”).

The only case which arguably supports plaintiffs’ position, Putnam v. Roudebush,
352 So. 2d 908 (Fla, 2d DCA 1977), held that a noisy air conditioner was a “continuing
nuisance” that constituted a “permanent defect in the realty.” However, private nuisance
was not even a claim in the Putnam casc. The Court’s reference to the air conditioning
being a nuisance was meroly a descriptive reference, and not a statement of a legal claim.

Taken together, neither the case law nor the poticy underpinnings of the nuisance

doctrine support such a cause of action for private nuisance in this case. The Court

"echeladesithat plamtitfs” claims for private nuisance must be dismissed.

Strict Liability
The defendant homebuilders have moved to dismiss the plaintiffs’ strict liability
claims. The homebuilders advance two grounds for dismissal. First, the homebuilder

defendants assert that only manufacturers of the product and those in the chain of

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distribution can be held strictly liable and they are neither. Second, the defendant
homebuilders assert that strict liability does not apply to improvements to real property.
The Court will begin with the homebuilders’ second argument.

The law in Florida appears to be weil settled that strict Hability does not apply to
improvements to real property as improvements to real property are not considered
products, Plaza v. Fisher Development, Inc., 971 So.2d 918 (la. 3° DCA 2007);
Newnann v. Davis Water & Waste, Inc. 433 S0. 24559 ( Fla, ’ HCA 1983) see
Eusterday v. Masiello, 518 So.2d 260, 261 (Fla.1988) (“[]t has long been recognized that
the doctrine of strict products liability does not apply to structural improvements to real
estate.”}; Jackson v. L.A.W. Contracting Corp., 481 So.2d 1290, 1291 (Fla, Sth DCA
1986),

Plaintiffs argue that an exception exisls with respect to improvements to real
property “where the injuries result not from the real property as improved by the alleged
defective product but directly from a defective product manufactured by defendant,
which product may have itself been incorporated into the improvement of the realty
before the injury from the product occurred,” Jackson v. LAW. Contracting Corp., 481
$0.24 1290, 1292 (Fla, 5th DCA 1986); Craft v, Wet ‘N Wild, Inc., 489 So0.2d 1221, 1222

(Fla. Sth DCA 1986). Plaintiffs conceded at oral argument that this exception has never

been applied ina reported Florida case, Indeed; the exception appears to be dicra in the:

cases that mention il.
Whether the exception advanced by the plaintiffs exists or not, it does not appear
that the exception would apply to the defendant homebuilders in this case. The

exception appears to apply to the manufacturer of an allegedly defective product which

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happens to be incorporated into the real property. The defendant homebuilders did not
manufacture the drywall at issue.

The defendant homebuilders also argue that only manufacturers, and those in the
distributive chain of a product, can be held strictly liable. Defendant homebuilders assert
that they are not manufacturers and they are not within the distribution chain of the
drywall at issue. While the plaintiffs argue otherwise, the Court finds that fhe defendant
homeowners’ position has merit,

Based on the foregoing, it is hereby,

ORDERED AND ADJUDGED that the plaintiff homeowners’ tort claims
against the defendant homeowners seeking economic losses are dismissed based on the
privity economic Joss rule. The request of the defendant suppliers and installers (who
lack privity with the plaintiffs) to dismiss the plaintiffs’ tort claims based on the products
liability economic loss rule is denied. ‘The plaintiffs’ claim for private nuisance against
all defendants is dismissed. Likewise, the plaintiffs’ claims for strict liability against the
homebuilder defendants are dismissed.

DONE AND ORDERED in Chambers, at West Palm Beach, Palm Beach

at
County, Florida this 3” day of November, 2010.

et Mn eo

JUDGE GLENN D, KELLEY

PRP SE im oat Fy ee py
ot CRREUIT COURTIUDGE
Copies furnished to:

Plaintiffs’ Liaison Counsel, C. David Durkee, Esq., 121 Alhambra Plaza, Suite 1603,
Coral Gables, FL 33134; Defendants’ Liaison Counsel, Todd R. Ehrenreich, Esq. and
Michael A. Sexton, Esq., 2601 S. Bayshore Drive, Suite 850, Miami, FL 33133; and for
distribution to all parties by electronically uploading the same to LexisNexis File & Serve
in accordance with the Electronic Service Order entered in this case.

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EXHIBIT C

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IN THE CIRCUIT COURT OF THE 1974 }
JUDICIAL CIRCUIT IN AND FOR
ST; LUCIE COUNTY, FLORIDA,

eeeteerniee on

CASENO, 562010CA001463
SURESH and OMA BISSCON,

Plaintiffs,

CENTERLINE HOMES CONSTRUCTION, ING,

8 Florida corporation; CENTERLINE PORT ST,
LUCIE LTO., a Florida Limited Partnership;
OCEAN'COAST DRYWALL, INC, & Florida
Corporation; and BANNER, SUPPLY CONPANY

PORT SAINT LUCIE, LUC, » Florida Limited * uo pO !

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Liability Company, rere pa de eke

Defenddrits, >

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ORDER ON DEFENDANTS’, CENTERENE PORT ST, LUCIE, LTO.
AND CENTERUNE HOMES CONSTRUCTION, INC ’s

MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT

THis CALISE, having come before the Court upon Dafandants’, Centerline Port St. Lucle
Ltd and Centerline Homes Consttwetion, Inc.'s, Motion to Dismiss Plates Second Amended
Complalnt, and the Court having heard arpuinent of counsel and belng otherwise advised ja
the premises, t & hefeupen,

1, ds, SQORDERED and ADILIDGED that sald motion ba and the samads haraby granted Jn that

although Plaintifi’s strict llatllity dats do allege defective product distribution, permanent

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Improvements to real property are not products for purposes of products strict lability actions.
These claims are dismissed, .

Ukewlse the motion Is granted hecabse Plaintiff's private Inaurance clalms de not state 2
cause of action against these defendants, These clairas are also dismissed,

The motion ts otherwise dented,

MEE ie Le R  ae HES tdee moet Sete ULAR bed 4

‘Thess defendants are permitted twenty (20) days to anawer the Complaint

DONE AND ORDERED th Chambers at Fort Pierce, Saint Lucie County, Flortda this
¥ eu .
: 2 ts af March, 2024,

DWIGHT. GEER, Circult Judze

Copies furisheds .
: Vanessa M, Sarvane, Esquire
C, David Qurkes, Esquire ‘ .

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EXHIBIT D

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PAUL HOMES oe
CONSTRUCTION AGREEMENT - 10' Fisbeam

AGREEMENT rads this 6" day of October, 2005, by and between Viking Acquisitions, LAX, of 9508 Cuddy
Court, Fort Myers, FL 33919, Phome: 482-3028, hereinafter called “Owner” end Pau) Homes, Ine, d/b‘a Paul Homes,
4524 SE [6th Place #20, Caps Coral, FL 33004, phone: (239) 542.1750; fax (239) 542400925 hereinafter called the
“Contractor.”

WHEREAS, the Contrasor promizes and agrees to nnd with the Outten: that he will for cousiderstion herolnafter
mentioned construct a residence an land nown ss LOT 10-71, BLOCK 943, UNIT 26, SUBDIVISION Cape Coral
County of Lea, State of Florida,

I. The Contrastor shall construct upon the building site a bullding fo sccordence with the plans and specifications

2. ‘The Contactor shall provide nll materials and perforca all work of the construction provided for in the plans aud
specifications by a workmanship fike manny, stoarditg to stusderd boikding practices in the commonity,

OWNER vest psy ths Conbracter forsuch coustrociios inibeasiount ef TARER HUNDRED EIGHTEEN
THOUSAND EIGHT HUNDRED TWENTY-FIVE U8, Dollarz

3 318,823 payable as follows: Centr

$< 500 = Depasht (Rarnect Moaey) dueupes contract signiag made payabie te Pack Homes
$ 315825 As per Lender’a/Ceotractor's draw sebrduk

3, ‘Omer herewith press access to the land to the Contractor, for construction of a new residence. Onmer may
oocupy the reskience upon substantial completion md issuancs of Certifleate af Occupancy and payment by owner of all
monies dus the Contractor per this Agreement. Unpaid monies from the dete of completion bear 18.0% Interest. I is
expressly understood and agreed that the Owners are not to occupy or otfierwise take possezsion of tho preaiises being
knproved purspant fo tis canirect prior to puch fine] settlement unless written consent of such occupancy is granted to the
owners by the Contractor,

4. Afterthe plans and specifications are signed aad sealed they shall become a Contract Document. No changes will
be made except by w unitien change order, sigoed by wil psrtite Each change by thr Ovmers subsequent to sxid
constyoction plans end specifications, shall carry Foo of $500.00 per change order In uddition to regular charges
or credits to the chénge requested. 1118 SPECIFICALLY UNDERSTOOD THAT NO STRUCTURAL CHANGES OR
MODIFICATIONS WILL BE ACCEPTED APTBR THE PLANS ARE SUBMITTED TO THE TRUSS ENGINEER.

5. Contractor agrees to use his beet effort to deliver tae baijding cpeckfied herein 04 or about 240 days (B months)
from start of construction. Start of construction is defined ay the dste on which coterete footings ame poured. The
construction period can be infiuenced by weather, sastecial end labor mvallebility,
nd This Agreement shall be binding upon the heirs, executors, edministratore, eucorssors and assigns of the Owner

7. ‘The Contractor will furnish Bullda’s Risk Tnsarwoce in the full anount of this contract during the consayction
Period, Contractor wil abso furnich Publle Liability Insurence,

10, The Coatrector guzrtotecs all worktneaship and raalerial foy one yoar from delivery to . Tweyears warrenty
cumechsnicals. Tals guarantes is in exclusion of and im lieu of all other gosranioes snd es, and Fisbility terminates
ong year frons date of delivery. Al manofacturer's warranties shall continue in force and effect according to dheir tides,
Purchaser may not assign this Agreement without the prior written coosent of the Contractor,

. — Tie The Contractoy wilt fornish concrete driveway and waowsy of upto _ 500. squure feet. Additional driveway
wad walkway will be charged to the Owner at $3,50 per squire foot.

12. The Contractor will compact to public water and tower lines to a distnwe of 65/60 fool. Cost of ines required over
that disteuce and any connection dees will be bome by the Quoxes,

13. Wf there is ta bea mortgage and ponstractlon low, tbe Oveners agres to make application, when directed, with an
approved bona fide leading Institution md to execute all recossary papers for a mortgage loan on the above described
property in aa amount necessary to clos, The Owner agrees to pay el] loan costs inobading the cost of abstract or title
insurknos premium, Intangible Tax with Docunyadery Stamps on the mortgage, all recording fees, credit report, appraisal
Bons 20 ry fosn Chess: made ty the Wendin institution . Flood insane, any prepald branes requirement and all

INITIALS: PAUL HOMES: Fa
OWNER;,
OWNER:

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an, ~~

* CONSTRUCTION AGRERMENT -Page2 “
‘Videg Asqnisttions, LLC

15, Ifthe Onners or a povernmental agency causes delay Io stoting consinition beyond ninety (90) days from the
dine of this Agretromm, the contact prios may be subject to change,
16. Artbe final closing, a affidavit of"no tens covering all suateriels end tabor will be presented to the Owners by
the Contractor,
17, The Contractor shall not bo held responsible for the following: A) Rock formations encountered during
constmuciton (rnbsoll conditions: B) Removal of trees, boukiers, brush ov stumps; C) Nonstructural cracks bo eopereio;
sre) Pasi Haas ech rod, plant or toa aftr instalation, Lnaplocted by Owmr
HS, Its hereby understood that tha Contrectar is to detiver the ebove listed residence on owner's bos to the poi of
completion (C/O obtained), Tho Contractor is hereby authorized to execute any and all additions a9 cutlined bi above
itndlontd artictes to suake livable delivery possible, in xccordance with any end all governmental regulations and laws.
Tt is understood that the changes, if applicable, shall bs paid by the Onmers.
19, Oumers hereby agres that the Contractor stay proceed immediately to socure the necessary documents that may
fe reqied by the eying insdfutin to tpprove the lore andlor by the sppropsiate building depart ar Govervocria
Agency to secute the necessary building pennks, ‘The documents include but are not limited to Surveys, Soil Analysis,
Percolation Testing, Prelinainary Drawiogs and Blveprings, Ja the event the loan is denied the Owners, orthe Owners cancel
or defaylt on this Agreement prior to construction permit Lasned, any expense and overhead incumed by the Contractor da
securing sald docoments including sales expenses shall be pald for by the Owners,
a. Closing and sateen of tas Agreotatek Will be within en (10) days of notice by Contractor to Owner tat he
preniises are substantially ready for occupancy, Cryer shall not unreasonably delay cloeing becouse of minor work thst
does not interfere with Oceupancy, Said niteor work will bs listed one comp Hance list, signed by te Owner and Copiractor,
“Pols work will be scheduled and comp!tted by tha Contractor as quidkly ns poasible afterocetipancy. Timais ofthe zssence
in this Agreement, Stronid tha Oumer fail to clope end asttle the comtract within the speelfied ten (10) days, Owner shall
‘be table to Contractor for interest at the rate of 12.0% per anmizn on the axbounty unpaid on the Contract,
21. Ali olsiing or desputes that arise out of, ot ace otherwise related to this agreement, shall be resolved by state court
Hidlgation, with venus to lle in Lea County, Florida, However, inthe event Contractor proceeds witha Wen foreclosure action
because of contractor having recorded a construction Lew against owner's property io another county than Lee County,
Contractor shall have the right, but not the obligation, to Hegate all olaims or disputes bn the other county, as well, The
Parties to this agreement specifically and knowingly walve right to trial by Jury, agree to submit all clans or disputes to
bench trial, only, The prevailing party shell recover, from the loosing party, ell reasonable attorney foes and court casts ond
oer su expenses Ssenered, whether oF not such costs or expenses aTe ordiunity taxable uader che Uniform Guidalines
or Texing Costs,
22. THE CONTRACTOR WILL NOT BE HELD RESPONSIBLE FOR ANYTHING NOT INCLUDED ASPART
OF THE CONTRACT DOCUMENTS, IT 18 EXPRESSLY STATED THAT ALL TERMS AND CONDITIONS OF
THIS CONTRACT ARE INCLUDED IN THIS AGREEMENT. THE CONTRACTOR OR ANY OF THEIR, AGENTS
HAVE NOTMADE ANY REPRESENTATIONS OR PROMISES IN ADDITIGN TO THOSS MADE A PART OF THIS
CONTRACT. CONTRACTOR 18 ONLY BOUND WHEN WRITTEN ADDENDUMS ARE SIGNED BY BOTH
PARTIES AND MADE A PART OF THIS AGREEMENT. WRITTEN CHANGE ORDERS ARESUBIRCT TO WORK
NOT RAVING BEEN STARTED OR ORDERED ON AFFECTED ITEMS. |
23. Other Agreements made k part of this quntract are:
A. Addceuluns 1, 2, 3,4, 5,6 & 7 me hereby made x part of this agreeoect.

ACCEPTED AND APPROVED

Loe Fla. neloos7 tibobs> k SIE, fo-[2-05
OWNER 27 DATE PAUL HOMES DATE

Robert D, Knight, Jn. - Vie President

\-

DATE

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os, “”

; PAUL HOMES
EXECUTIVE CONSTRUCTION FEATURES
ADINENDUM #1 SPECIFICATIONS
1@ TIRBEAM

RESIDENCE FOR: Vidag Acqalstions, LLC MODEL TYPE: 10" Azaiea 1H Gold Package whh Poel
STANDARD CONSTRUCTION FEATURES (MAY BE REVISED BY ADDENDUM #2):

n

CONSTRUCTION

All ballding pemnity

Builders Risk Insurance, Note: Owner responsible for flood ingovance if required.
Pull st of construction blue prints

8X 16" stead yelnforeed concevies footer with 3 coutie stenvall

4" polnforced concreta alab with 6 mal, vapor barrier

CBS coustnxdion with complete sinece exterior (Sap-trowel Ginish)

& X 16" contimous piel reinforced Hebean

Certified soil treatment spainst termites under concreve shah

Engineered roof tusees with steel anchor hurricant straps tmbedded in te beans
4" plywood roof shesthing

20 Abonitus ridge vent

Broae of whks foe wlominun windows with acres

Aknnings perage serviot door

‘Alopa alanine soBft and 6" fascia

Steel garage door

Garege Door finished with concrete stains

2" x 4* wood saute Ln interior walls Framed at 16°0. C,

owe ee aave eae ewe eee

INSULATION & AIR CONDITIONER
Living areas oaly - R-30-collings, R-5 masonry walls

o
re
a
i
i
f

Air returns aa required by Bulfding Code
INTERIOR TRIM

© 4" deywall interior with light knock down Finish

+ — Shower wall to be dense chie'd nnd tub wall to be water reslseuw preeoboard

« Radsed panel interfor dots ( & high colons!)

© = Codonial beseboards and door casings

» Insulated metal eatey doors

© Kwikset interior lever doorknobs with chotoe of finish

© Krvdkset 600 series exttry handipset with choiee of fabh
(polished brass cannot bo warranned sgeinat pitting)

+ Ventilated shelving in all] closets

» Poll down attic stairs in gertge

INTERIOR FINISH
Standard wall tile in tub & shower area

Recessed posp/shempoe holder and filed peat fa walk-in showers
Corian widow $s in gitcier white

srpaeer

+ Flexbim #§4 paint or equivalent with 2 coats exterior

» — Floxban#}4 pal or equivalert sprayed with J cost interior

»  Fiegcbon #14 enamel or equivaleat interior doore and tris -

» — Tntevior ceiling, trimt and walls to be sexe color

+ Extesjor shoceo trim to be different from wally (one trim coke)

INITIALS: PAUL HOMES:
OWNER:
OWNER:

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RESIDENCE FOR: Viking Acquistion, LLC MODEL TYPEs 10 Azalea IIGold Package with Pool

am, wt,

ss PAUL HOMES ‘
EXECUTIVE CONSTRUCTION FEATURES
ADDENDUM #1 SPECIFICATIONS - Page ?
10 TIEBEAM

ELECTRICAL

aae ew ew eee

ev cs epennne

Structured Wirieg Sohuilan to inchodes

« Inckades up to 6 telephane/deta outlet locations

+ — inchides up to 6 conx outtel locations for video with araplification
+ locdudes RG-6 com cable

includes satellite TV pre-wire (2 high speed coax cables te SW comer locatlon for satellite dish hook-up)

Ticlades high spead cable (1 CATS and 1 RG6 coax) from xorviee provider location

Hisricane Generator Roady Panel Prog io inclucds:

* — Inclodes 200 Amp ingin breaker electrical paned with mechanical interlock breaker with
generator manual transfer switch

»  Inchides one (1) $0 Amp 220 Voli generator interface breaker

© Inchudes 0746 (1} 50 Amp 220 Volt penerater receptacle

+ Tochudes ong (1) 50" cord with $0 Amp 220 Volt plug for procretor pancl, receptacle mud
30 Amp 1207246 Volt plug for genoritor

Bagck to back 200 amp overhead olecttical service with circuit panel

"Drean? white e}ectrical switches and outlets

fimoke detectors fo code

2 exterior water proof outlets

Garage door opener

T eeiling fans Model 10525 installed

Additional ceiling fans installed at $45 per fan

All recessed fighting (shown on bine prints} inctoded
Mais ine surpe protector

Front door bell chines

Laundry tod with Nemes bate cabinst end standard feoced tn lsundry room
Toomiaker Ting

3 exterior hose bibs

Standard white Arnericast toh in gnest bath

Standard white 'Amerioen Stand" slongetad water-saver toilets
Soaking tub in taster bath

CABINETS

ae ema ater ee

Custom raised panel cabinets with full Raropesn fronts in Kitchen

36" custom relied panel vaniky cabinets with full European fronts and mumble tops ins bethe
Conoealed hinges tn itchen & batarooms

Fob kogih miter above all vanities

Minored stedinnie cabbaets

42" high upper cabinets in Kitchens

Upper cabinets ig landcy room {Thermofoil)

Ceramic te on outside wall of bar

EXTERIOR FINISH

aoneeve

Up #0 7000 9q ft of Floratam sod
Lanciscaping to meet code

90D aq ft of contrete drives and walks
Full outelds rain gantere pnd dovrrpoats
Controle stain 00 garage floor

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“~ ot
PAUL HOMES
ADDENDUM NO. 2 ~ Page 1 of 2
_ Vidng itdons, LLC
10' Azalea ILE Gold Package with Pool
LOT 10 -71, BLOCK 943, UNIT 26

1, The Azalea Til 10" design, left hand gecapa, 3 Bedroony? bathe with $348,825
arprexiouaely 4983 59 ft living with epprosdmasely 2,657 oq Rtotal, Homme to bo positoned
oo ‘with 25° front sotbenk and centered on lot.
2, Lot Preparation Inchoded
2, AL! fill avd grading for a two course mtemvil) on existing grads,
b. Water ling booksaip to GF
& Sewer line back-up to 6
¢@, Bwual wate line installation ifavailabhe
6. Surveys
ts Uopatt Fee Allowawe of $_3,087,
g. - Water & Sewes Iropact Poa and Water Meter Allowance of £4,309
h. School impact Foo ADlowince of $2.23,

3. The following Gold Package is inckidad:

oP

rire af pp

reo

OPP RE

BENS K £5 FORE

‘Ten (10) year steveiarad warranty and Two (2) years on naajor ayrteme

Standard lot improvements on existing grids, and all epect/Pennit Fees for a standard

804x125" Cape Coral lot vefth wetar and sewer.

Stopm panels as required by the Floris Building Code

Pre-trext frems Rags toold

All regaired surveys sud engineered bhseprints

Color-Thra barre! tile roof in standard colors.

Sone-of-the-art suotired wiring system.

10° Tis Beam with & rdeed panel interior doors and 5-L4" Colonist Trim

Good Cents Package: ‘Tinted windows, R-S enespy board on masonry wells, B 30 insulation ip ceflings,
14 SEER AK! unit, beat recovery system, 50 gallon water beater, soastio ol duct fofnis and programmabk:
Grermoatet

Front entry etched gless doors (Standard Designs)

Manabloc Phinabing System

42° Upper cabinets in laundcy roca; {Thermofol])

Decotator light foctures (51,300 allowance)

Upgraded Moen phiobing fistures in choles of finishes #5 follows:

Ritchers: Moen 7570 Salsa wiPull-Out Spay, Sink & Strainers, .

Mostar Beth! (2) Moen 4S70C/P/97372C7P Monticallo Chrome? 13, (1) Moz 795. Mouticello Chrame
PB Declosount, (1) Moen 3847C/P Personal Shower on Glide Bax wi 1 Moen T2444C/P to
tum on & off and Chrome Strainer

Guest Bath: (1) Moen Castelby 493 0CVP Lav Fences, (1) Moen TL2S72C7P Tub & Shower Pauses, (1)
Chresns Tub Trin Kit

High quality wood cabinets in choles of finishes and design in Kitchen

In Wall Pest Prevention System

Seven (7) ceiling fins - Mode] #10525-6 imstelled

Covamic tie 00 outside wall of bar and rounded interior drywall comers,

Automatic gerape door opesuz with 2 remote controls

Upgraded landscape pkg. To inchde automatic sprinkler system, florstam sod,

3 Queen Pala trees and 10 shinbs.

Pell outeids rain putters end downspocts
Wire lathe end sfeoce on lana! and entry cellings

INITIALS; PAUL HOMES; 4
OWNER:

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~ ~~
PAUL HOMES ,
ADDENDUM NO. 2 - Page 2 of 2
Viking Acquisitions, LLC

10' Azeka Til Gold Parkage with Poo)
LOT 70-71, BLOCK 943, UNIT 25

4. Provide a pool package of:

14 x 2a Dianagad Brite pool Jn tadard colors with an approximate 27 x 36 sprayerete deck & Inna
‘Up to thres courte pool retaining wall

Mansard cage with Z door ated Super guiter (eee color sheet foy cage colar)

‘Tuner, pomp, filter, Hight, tablet chlorinatoy and eotofill

Manual cleaning equipesent

lndkides & pool alenrn sycam per Flosids Statnter Chapter $)5

If additional retaining wall Je necessary, there will be an extra charge of $1,200 per course,
(loclodes mussoury, labor, stucop and paint), Should the pool retaining wal)

exceed 30” in height, building code requires safety railings around the enclosure,

(Cost of such to be additional}

5. Provide the following upgrades thet are Inuded:

#. —- Weter and electric rb seawall (rapucted on a 4* x 4* posal}
b, —- Pre-wirs for future pool heater

6, Seawall (per Fone Proposal)

8 concrete seawall and 40" ef rip rip rok

Conier rin ap on wall.

Price inchudes up tod loads of five fill, Any additional required fill will be
changed at Contractors ost plus 15%

Price docs not fiche tree of rock remove) and disposal

7, Closing Cost Allowance 54,000 -
8, Comtrnction Interent Allowanct 516,000

Brean oe

Bp re

Contract Price $329,825
Courtesy Discount <$ 11,000>
TOTAL INVESTMENT ‘$318,825

ACCEPTED AND AFPROVED

Le Bt ne pipthiege

OWNER
Robert D, Knight, dr, ~ Vies President

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rn ~
‘ PAUL HOMES ,
ADDENDUM #3 - DISCLOSURES TO PURCHASER

SALES DISCLOSURE:
Upon closing of the purchase of your boms, additional costs may be borne by you in the form of closing
costs. A list of the known major cost itera are:

1. Homeowner’s Insurance.

2, Intengible Tax,

3, Documentary Stamps on Deed.

4. Reoonling Fees on Deed.

5, ‘Title Insurance.

6. Proration of Real Estate Taxes, County Garbage Collection, and Homeowner's

Association fees,

if you will be obtaining financing for your purchase, additional costs related to the new mortgage ane

7. Survey,

B, Service Fes (or Originating Fee) on new mortgage.
5, Documentary Stamps on new note,

10. Recording Fees on Mortgage.

11. Credit Report Fee,

12, Mortgage Company's Fees.

13. Appreisal Fes.

14, Tits Insurance for Mortgages.

15, Set-up of Escrow Account (taxes and insurance).

RADON GAS:

Radon is naturally oocurring radioactive gas that, when it has accumulated in a building in eufficient
quantitias, miny present health risks to pertons who exe exposed to it overtime, Levels ofradon that
axceod federal and state guidelines have been found in buildings in Florida, Additional information
regarding mon and radon testing may be obtained from your county public health unit, Pursuart to
$404.056(8), Florida Statutes

lg BE

DATE DATE

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PAUL HOMES
ADDENDUM #4
EXPRESS ASSUMPTION OF RISK AND LIABILITY RELEASE AGREEMENT

1, the undersigned, hereby acknowledge that i an a catering upon the residential constuction
site commonly referred to a8 Block ision. Lacknowledge
and appreciate that hazardous ce anc ect con fo conten Se an wollte tal
ongoing, and that certain risks and dangers exist which are buherent in any construction sits, including,
butnot Iinuted 40, loss ordamage to personal propexty, personal injury of Latality. Suchrisks stem ftom
ibe operation of power tools, construction vehicles, the falling of tools and/or materials, trenches and
holes created during the construction process as well as inmumerable risks incident to the construction
of dwelling units.

TAMAWARE THATENTRY UPON THE CONSTRUCTION SITEIS8 AHAZARDOUS ACTIVITY,
AND J AM VOLUNTARILY ENTERING UPON THE CONSTRUCTION SITE WITH THE
KNOWLEDGE OF THE DANGER INVOLVED ANDI AGREE TO ACCEPT AND ASSUME ANY
AND ALL RISKS OF INJURY, DEATH AND PROPERTY DAMAGE TO MYSELF, MY HEIRS,
OR VISITOR THAT ACCOMPANY MB.

Tassune the risks sot forth above and agrea to release, indemnify and hold harmless Paul Homes, Inc.,
d/b/a Pool Homes and its officers, directors, sharcholders, employees and agents from any liability,
resulting from the negligeate or other acts of others, its agents and employees, suffered on the
construction site, In addition, I herehy release and discharge Paul Homes, Loc., d/o/a Paul Homes, ita
agents aid employes, fiumn ell claims and actions I, my beire, my invited visitors, or legal
yepwesentatives now have or may hervaiter have, for injury or damages arising out of or related to toy
entry ypon the covstruction site.

1 HAVE CAREFULLY READ THIS PARAGRAPH AND FULLY UNDERSTAND ITS
CONTENTS, 14M AWARE THAT THIS IS A RELEASE OF LIABILITY AND LIMITS MY
RIGHTS TO SUE Paut Homes, Inc, WEVA PAUL HOMES IN THE EVENT OF INJURY,
DEATH ORPROPFERFY DAMAGE TO MYSELF, MY VISITORS OR ANY MEMBER OF MY
FAMILY, AND I SIGN IT OF M¥ OWN FREE, WELL,

Ge ge
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PAUL HOMES -
ADDENDUM # - NOTICE OF CONSUMER RIGHTS

NOTICE OF CONSUMER RIGHTS UNDER THE
CONSTRUCTION INDUSTRIES RECOVERY FUND

You have cerlain rights under Florids law if you bave
buffered damapes caused bya state-dioensed contractor or
&@ constrasthn company with whom you bays signad a
contrach State law requires dat you be provided with
this nothes of yoor rights regarding the Consinpction
Tndustries Recovery Fund, inchading bow and where you
oxi fie s claim against the Fund for pchobusement of
any dansgrs you have sulfered,

You may be eligible for reimbursement [f you lave
suffered monetary loss dhic to cortmin acts (described
bekow) by the ovetroctor, 5, Baansialy responsible Fier
or business orpanization Homssd under Chapier{99, Pict

[, Florida Statutes. ‘The Fuad is avuilebls oaly in casts
vhere the contract was aigmed aod tha violation soaurred
oat oc after Inly 1, 1993.

Who Is Eligible?

Th onder to stek compensatian fromm the Coosiruction
Tadustrins Recovery Fund, you must have:
Entered into # writin boutrect with a lloansed
boutrector far work va residential real property;
Comepenced kgal action aguinst the contractor,
finencially resposible officer or business

organization;

Suffered a financial loss dus to the contractor:

a) Knowingly violsting appllaahls city, county
or she building codes or laws;

6} | Committing ntl nnenagenteot or miscoockxtio

0) Absndoning « construction project for mare
thas 90 dayst or

a) Signing a fake eetement claining that the
work js bonded, that all payinents to
subcontractors bar's beta made, or claiming
to have provided cerlain workers
contpensation and insurance protéction.

Florida ins provide specific defmitions for determining
whether a contractor's gcfdoas ray coostiies ono of
these violations. Ser $489.129(100), 0), 0, D, Fle

the Constroction

Inhsby !
certified mail ef the time yoo commence legs] action.

Filing a complaint against a contractor fs not the same as
filing « claim egeind the Fond, Even H you fik &
complain against & coufractor with the Departrent of
Basiness end Professional Regulation (DEPR), you still
kaye fo give the CILB notice of your claim nad you will

tho bo required to file a Construction Industries
Recovery Fund Claim Form with the CILB,

To request a Constnction Induapies Recovery Fund
Ctalm For of t> recelve more information about the
Fund, write to;

Fon Anikgion Exess Suite 300
Jarksonville, Florida. 32211-7467
Phone (904) 359-6310

Kf you have questions and/or want to file a complaint
with the DBPR apeinut the contractor, the financially
responsible officer and/or the business organization,
please write © the Complains Section, DEPR, 1940
North Monroe Street, Tullshascee, Florida 32399-0742.

Conditions For Recovery

In ocder to recover from the Fund, you mut be pn
individual -not wrompany, Tho Rocovery Frund ism lest
Tesort. Bafore you canreceiveany monsy from the Find,
‘you must heve obtalned « final Jodigment from « Flotids
court or a restioation order from the C18 based on the
types of violsiioas of lew sleady mentioned. Both the
violation of law and the signing of the construction
pootract mma have occured on or efter July 1, 1593.
Before the Fund will pay you my money, you must show
thatyov have muds every effort to detemins if there are
any assets from which you can recaver all or past of the
money you are otred, If so, you want ry to recover
before you can collect from the Fond. You hive to fils
& clekn for recovery ‘with the Pund within 2 years af the
fine the ylolation of law happens or within 2 years of the
tne you fied our or should have found out boul the
violation of iaw, No claim can be made more than 4
yours after the Hime the violstion of law happeacd.

Payments From The Fund

ie Fund coop aot pay pose les ith punitive
Gammages, of stiomays fees. pays

you have not yet collected for actual or compensatory
damages, The Fund pays ths lesser of up bo $25,000 per
claim, or $25,000 per transection, or 530,000 per
contnicior.

FORK MORE INFORMATION ABOUT THE FUND,
SBE 58489. 140 to 489,143, FLA. ETAT, AND RULES
6104-21.001 TO 6104-21,005, FLA. ADMIN, CODE.

The undersigned acknowledges that this notice was zecelved prior to of xt the time of making your

initial payment/depasit with PAUL HOMES,

Aay BEE

OWNER “ DATE

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oo“ “
PAUL HOMES
ADDENDUM 46 - MODEL HOME QUALITY

Congratulations on your purchase of'a Paul Heuie, Paul Homes prides itself on quality and we
are dedicated to building your home to a level of craftemanship equal to what has been represented
in our model home.

Aiilds point, Paul Homes would like you to take some extra time lo review the model home that
is most like the home you are purchasing and study the quality of construction. ‘Your new home will
be built io these same standards, In addition, you shouk! review the quality of materials used in the
construction of the house as detailed in the Description of Materials and Specifications in your
Building Agreement.

Purchasers hereby acknowledge, agree, and accept the above desoriptlon as the standard of
quality for thelr new home,

Lag OE ue

OWNER DATE 2 DA’

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o~ o t
PAUL HOMES
ADDENDUM #7 - Construction Lien Law

FLORIDA LAW CONTAINS IMPORTANT REQUIREMENTS YOU MUST FOLLOW BEFORE
YOU MAY FILEALAWSUIT FOR DEFECTIVE CONSTRUCTION AGAINST A CONTRACTOR,
SUBCONTRACTOR, SUPPUER, OR DESIGN PROFESSIONAL FOR AN ALLEGED
CONSTRUCTION DEFECT IN YOU HOME, SIXTY DAYS BEFORE YOU FILE YOUR
LAWSUIT, YOU MUST DELIVER TO THE CONTRACTOR, SUBCONTRACTOR, SUPPLIEROR
DESIGN PROFESSIONAL A WRITTEN NOTICE OF ANY CONSTRUCTION CONDITIONS YOU
ALLEGE ARE DEFECTIVE ANP PROVIDE YOUR CONTRACTOR AND ANY
SUBCONTRACTORS, SUPPLYER OR DESIGN PROFESSIONALS THE OPPORTUNITY TO
INSPECT THE ALLEGED CONSTRUCTION DEFECTS AND MARE AN OFFER TO REPAIR OR
PAY FOR THE ALLEGED CONSTRUCTION DEFECT, YOU ARE NOT OBLIGATED TO
ACCEPT ANY OFFER MADE BY THE CONTRACTOR OR ANY SUBCONTRACTOR,
SUPPLIERS, OR DESIGN PROFESSIONALS. THERE ARE STRICT DEADLINES AND
PROCEDURES UNDER FLORIDA LAW,

ACCORDING TO FLORIDA’S CONSTRUCTION LIEN LAW
(SECTIONS 713.001 - 713.37, FLORIDA STATUTES), THOSE
WHO WORK ON YOUR PROPERTY OR PROVIDE
MATERIALS AND ARE NOT PAID IN FULL HAVE A
RIGHT TO ENFORCE THEIR CLAIM FOR PAYMENT
AGAINST YOUR PROPERTY. THIS CLAIM IS KNOWN AS
A CONSTRUCTION LIEN, IF YOUR CONTRACTOR OR
SUBCONTRACTOR FAILS TO PAY SUBCONTRACTORS,
SUB-SUBCONTRACTORS, OR MATERIAL SUPPLIERS OR
NEGLECTS TO MAKE OTHER LEGALLY REQUIRED
PAYMENTS, THE PEOPLE WHO ARE OWED MONEY MAY
LOOK TO YOUR PROPERTY FOR PAYMENT, EVEN IF
YOU HAVE PAID YOUR CONTRACTORIN FULL. IF YOU
FAIL TO PAY YOUR CONTRACTOR, YOUR
CONTRACTOR MAY ALSO HAVE A LIEN ON YOUR
PROPERTY. THIS MEANS IF A LIEN IS FILED YOUR
PROPERTY COULD BE SOLD AGAINST YOUR WILL TO
PAY FOR LABOR, MATERIALS, OR OTHER SERVICES
THAT YOUR CONTRACTOR OR A SUBCONTRACTOR
MAY HAVE FAILED TO PAY. FLORIDA’S
CONSTRUCTION LIEN LAW IS COMPLEX AND IT IS
RECOMMENDED THAT WHENEVER A_ SPECIKIC
PROBLEM ARISES, YOU CONSULT AN ATTORNEY.

oWNER ° DATE DATE

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:

Clty of Cape Coral’ ~ Permiti ~
Block # Lot

Residential Swimming Pool
Spa and Hot Tub Safety Act
Requirament

, Lice

(Pisace Frist Contractors, facies neat :
hereby affirm that one of the following methods will be used to mest the
requirements of Chapter 615, Florida Statutes,

a
The pool wil! be isolated from access te the home by an
gnelosure that meats the poo! banter requirements of Florida Statutes, Section
§,29;

_—___ The pool wifi he equipped with an approved safety pool cover that :
compiles with ASTM Fi348-97 (Standard Performance Specifications for Safety
Covers for Swimming Pools, Spas and Hat Tubs);

All dopr and windews providing direct access from the home to the
pool will be equipped with an exit alarm that has a minimum sound provaure
rating of 85 decibels at 10 feat:

ea doora providing direct access from the home te the pool will be
equipped with a self-closing, salf-oatehing device with a release mechanism
placed no bower than 54” above the floor or dock;

_________. Hf a fixed barieris to be used In place ofthe acreon around the
porWnetar of the peal, then no property perimeter fence will be required.

___—_ FF Baby Barrler around porimefer of pool Is ‘hot permanently affixed
to the pool deck, a property fence will be required.

All fences must be a minimum 48” high, with 54° high gate latches. All gates shall
_swing to the outside and be self closing self latching.

understand that a banier must be placed around the perimeter of the pool and
must be separate from any fance, wall, or other enclosure surrounding the yard
unless the fence, wall, or other enclosure or portion thereof Is situated on tha

perimetor of the pool, fs belng used as part of the barrier, and moots the barrier
requirements of this section, | also understand that net having one of the nbove
installed at time of final napecdon will constitute # violation af Chapter 548 F.S.

CONTRAGTORS SIGNATURE Akh,

Zz a Mute”
SanERS HAE (PLEASE PRINT)

dHOMS DAS

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EXHIBIT E
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G3-20~' BS 13:27 aren OF CAPE CORAL 239-874-8598 T-723 PQ81/801 F-861 ©

’

 GrrTy oF CAPE Co MEET
«----~ CERTIFICATE OF OCCUPANCY -HRECKRTV ERY)
PERMANENT

SEP 2 0 2006
ISSUE DATE: 9/20/06 IBY:
LOCATION: 430 SE 218T TRR Nate
STRAP #: 25-44-23-C3-00943-0700 PERNTT #: 05-00038563
OWNER INFORMATION: OCCUPANCY TYPE : RESIDENTIAL 1 & 2 FA
VIKING ACQUISITIONS LLG :
9808 CUDDY CT CONST. TYPE : TYPE VI UNSPREK/UNPRO

PORT MYERS, PL 33919-3174
ALLOWABLE OCC CONTENT:

CONTRACTOR INFORMATION: ALLOWABLE FLOOR LOAD ;

PAUL GARY G

PAUL HOMES GAC UNIT : 26-0

4524 SR 16TH PI. #20

CAPE CORAL, FL 33904-7475 PLAT BOOK PAGE : 26

(941)542-1750 # OF PLATTED LOTS: 2.0000

COMPETENCY #: ZONING : RIBW

REG OR STATE LIC: CGc047296
TYPE OF WORK ; NEW CONSTRUCTION
NUMBER OF STORIES 1.00
YLOOD ELEVATION :
FLOOD CODE b B
NUMBER OF BEDROOMS ~ : 3.00
NUMBER OF BATHROOMS =; 2.00
TOTAL DWELLING UNITS : 1.00

2657,00

TOTAL BLDG SIZE

SAID BREMISBS HEREBY ARE FOUND TO COMPLY WITH THE BUILDING
ORDINANCES AND ZONING OF SAID CITY. ‘THIS FORM IS A
"CERTIFICATE OF OCCUPANCY® WHEN VALIDATED.

DATS tho fae (Ae B 1) (
iff . OF COMMUNTTY P. ; a

VOID UNLESS SIGNED BY BUILDING OFFICIAL

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EXHIBIT F

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INSTR # 2005000105676, Doc Type D, Pages 1, Recorded 11/07/2005 at 08:31 AM,
Charlie Green, Lee County Clerk of Cirauit Court, Deed Dac, D $1183.00 Rac, Fee
$10.00 Deputy Clark SHOLOWSKI

This Instrument Prepared by & return tor

Mane: Erloa M, Scimeca , an éniployed of
Polt: Tie Arsociaiar, Ite.

Address: 1342 Colonial Bivd., Suite 44F
Fort Myers, KE 33907
Filz No, 1-05-0661-NE

Percal LD, Be 25AE ZT CFIA OTIO
SPACE ABOVE THIS LINE FOR PROCESSING DATA SPACE ABOVE THIS LINE FOR RECORDING DATA

THIS WARRANTY DEED Madethe OL dayof _OCHOYY 2 A.D. 2005, by DANIBL
P. MAY and STACY M. MAY, Husband and Wife, hereinafter calied the grantors, fo wt

VIKING ACQUISTTTONS, ILC, a FL Limited Liabistty co, Whose post aifice address is
Ga? Caddy Ct. Fr Muyecs (BRU % _, hereinafter called the grantees:
(Biierrver ued ercels die pers "granted “prambees” lochade a Gee parties fo this bubs, singular and
plural she hab, ial representalies end assign of betas, cord the end aig of corporations,

antarever dhe context fe atnity or requires.)
Wnesseih: That the grantors, for and in consideration of ihe sum of $10.00 and other yaluable
consideration, receipt whereof ts hereby ackiowledged, do hereby grant, bargain, sell, alien, remise, release, convey
and confirm unto the grimtees all that certain land situate in Lee County, State of Florida, viz:

Lots 70 and 71, Block 943, Unit 26, Cape Coral Subdiviston, according to the plas thereof recorded In Plat
Bovk 14, Pages 117 through 148, inchasive, Public Records of Lee County, Florida,

SUBJECT TO TAXES FOR THE YEAR 2006 AND SUBSEQUENT YEARS, RESTRICTIONS,
RESERVATIONS, COVENANTS AND BASEMENTS OF RECORD, IF ANY,

Together with all the tenements, hereditaments and appurtenances thereto belonging or in anywise
appertaining.

To Have and to Hold the sane in Jee simple forever.

And the graniors hereby covenant with said grantees thot they are lawfully seized of said land in fee simple;
that they have good right and lawful authority to self and convey said land, and hereby fully warrant the tile to said
land and will defend the same agatnst the lawfel clatms of all persons whomsoever, and that sald land is free of alf
encumbrances, except taxes accruing subsequent te December 31, 2006.

in Witness Whereof, the sald grantors have signed and sealed these presents, the day and year first above

Se) e seen

written.
Signad, sealsd and delivered in the presence of

Daniel P, May
Address!
7321 W 114th St, Bloomingion MN 55438
LS.
Wi Sigra! c Stecy Af Mi
aries LStorlyi& Address!
Printed Nene 73a Wilh &, Bloomington MN 55438
SPATE OF 1
COUNTY OF j
The foregoing insirument was acknowledged before me this $4) _ day of 2005, by Dania P.
May and Stacy 14, May, whe are known to me or who have produced ! icf. as
identification.

Sot Signature of Notary

My-comnsission expires_1 {GH [oO

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INSTR # 2007000225409, Doc Type D, Pages 1, Recorded 07/18/2007 at 02:34 FM,
Charlie Green, Lee County Clerk of Gircuit Court, Deed Doc. D $0.76 Rec, Fee
$10.00 Deputy Clerk WMILLER

Prepared By!

Gulfetream ‘Title LLC

6710 Winkler Road, Suite 2
Fort Myers, Fl, 33919
Orao4iwy

Powel ID Number; 26-44-23-¢3-00943.0700

Worranty Deed 4
This Xndenture, made this 0. day of July, 2007 4.D.

Between Viking Acquisitions, 1L¢, Florida Limited Hablitty Company, by Thomas 6, Runyon, Manoging
Member ond George Nukho, Managing Member ond Michael Nukhe, Managing Member ond Edward Nuh,
Raneging Menber with a malling address of 9608 Cuddy Court, Fert Myers, FL 33919 hereinafter known
vs Grantor

and

Rlehae! Nudie ond Ecard Nukhe ond George Nultho ond Thomas &. Runyon, ox tenonte In common, with
4 mailing address of 12521 Via Del Fontana Avenue, Fert Myers, FL 33919 hereinafter known os
Grantes

Witnesseth thar the GRANTORS, fer and In censideration of tha sum of TEN DOLLARS ($10) DOLLARS
and ather good and yalucble consideration to GRANTORS fn hand pakd by GRANTEES, the recelpt
whereof ix hereby acknowledged, hove grented, bargained ond sold to the sald GRANTEES and
GRANTERS’ heies, successors and axslons Forever, the following described hand, sttunte, lying ond bring
in the County of Lee State of Florida to witt

Lots 70 and 71, Block 943, Unit 26, Cape Coral Subdivizion, according to the plot thereat resorted in
Plot Book 34, Poges 117-148, Public Records of Lez County, Flerida.

This is not now, nor hos it ever bean, the hewestead property of the grantor, and nelihar the grontor,
nor the gronter's spoure, nor anyane for whore support the grantor is responsible resides on of cdjocent
to sald fond ond the granters do hereby fully worrunt the title te acid fund, and will defend the some
agdinst fowful clokns of all persons whomsvever. Grantor acknowledges he/she/they ore lawfully zelsed of
the property ond have the right te convey sold property.

In Witness Whereo?, the granters have hereunto set thelr hands and seals the day and year first above
written, Skee, sealed and delivered in our presencet THERE MUST BE TWO SEPARATE PEOPLE WHO
ACT AS WETNESS, THE NOTARY MAY BE ONLY ONE OF THE

Ney ek. aay
¥

Withess Ne. 1 Sighature Edward Nukho
Print Nowe: Hidssiean Hussein Sbrus
= edhe Len Mode £2) LZ Yhe
Witness No, 2 Signature . Beorge Nukhé/ °
Print Nome STELLA LEE — FHoUTES 2 “He dr
bib Me
Michal Nukho °

State of York
County ot EO ak
fi.

On the Be. day of July, 2007, then oppeared before ma, o licensed Nojory Public In the
obove referenced state, Edword Nukhe ond George Nukhe ahd Michael Nukhe who acknowledged the

foregolng Instrument te be disthat/thel’ Pree act ond deed and het toke on otf and who
produced detvers' licenses af dentificath
Hater? Publi SEAL

Stella Lec-Montes
Notary Public, State of New York
No. OILE6098035

Qualified in New York County
My Commission Expires Supt, 22. not
EN

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EXHIBIT G
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IN THE CIRCUIT COURT OF THE
17°" JUDICIAL CIRCUIT IN AND FOR

BROWARD COUNTY, FLORIDA
IN RE: CHINESE DRYWALL LITIGATION
DARIO ORLANDO; STEPHEN SINES; CASE NO.: 10-28090 (12)
DAVID AND JOAN GLICKMAN;
THOMAS WOJCIECHOWSKI:

OCEANPARK ESTATES ASSOCIATON,

INC., and DOCKSIDE LOFTS CONDOMINIUM

ASSOCIATION, INC., individually and as

representatives of others similarly situated,
Plaintiffs,

VS.

BANNER SUPPLY CO.,, et al.,
Defendants.

HON. PETER M. WEINSTEIN
/

ORDER ON DEFENDANT BANNER SUPPLY COMPANY
- PORT ST, LUCTE, LLC’S MOTION TO DISMISS FIRST AMENDED
CLASS ACTION COMPLAINT

THIS CAUSE came before the Court on Defendant Banner Supply Company Port 5t.
Lucie, LLC's Mation to Dismiss First Amended Class Action Complaint. The Court having
considered same, having heard argument of counsel and being otherwise fully advised in
premises, finds and decides as follows:

Plaintiffs filed the instant first amended class action complaint asserting claims for
product Hability, negligence; violations of the Florida Deceptive and Unfair Trade Practices Act
(hereinafter FDUTPA); Private Nuisance; and equitable and injunctive relief. Defendant Banner
Supply Company Port St. Luce LLC (hereinafter Banner PSL) is now moving to dismiss the first
amended complaint arguing that it fails to comply with the requirements of Rule 1.220, Fla. R.
Civ, P., fails to properly allege a cause of action for private nuisance, for violations of FDUTPA

and for equitable and injunctive relief and for failure to comply with Rule 1.130, Fla. R. Civ, P.

Feb 14 2071
IAM

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Case No.2 10-28090(12)

in that plaintiffs have failed to attach documents necessary for Banner PSL to properly respond
to the complaint.

Turning first to plaintiffs’ claim for private nuisance, Banner PSL argues that
plaintiffs cannot state a cause of action for private nuisance as a matter of law. In the motion to

dismiss, Banner PSL cites to a recent Omnibus Order on Pending Motion to Dismiss in the

matter styled Marlene Bennett v. Centerline Homes, et.al. Case No. 50 2009 CA 014458,
entered on November 5, 2010 by the Hon. Glenn Kelly of the Fifteenth Circuit Court. In that
case, Judge Kelley in a well reasoned order sets forth the well established law in Flonda
regarding private muisances and states that “Florida law recognizes that the doctrine of private
nuisance is essentially a mechanism which protects the property rights of one land owner from
the unrestrained exercise of the property rights of another. Jd. at 6 citing Jones v. Trawick, 75
$o0.2d 785, 785 (Fla. 1954), ‘Florida law essentially define nuisance as using one’s property as
to injure the land or some incorporeal rights of one’s neighbor. Jd, citing Beckman v. Marshall,
$5 So.2d 552, 554 (Fla. 1956). Plaintiff argues that there is an inherent weakness in Judge
Kelley’s ruling that the nuisance must come from outside the plaintiffs’ land, that is the defective
drywall did come from outside of plaintiffs’ land and was delivered by Banner to the home.
Plaintiffs argue that Banner PSL should have used its own property, the defective drywall, in a
manner not to injure the plaintiffs. This Court finds that it is plaintiffs’ argument that has the
inherent weakness based on this Court’s interpretation of Florida law as it deals with private
nuisance. This Court finds Judge Kelley's ruling to be persuasive in his finding that neither the

case law nor the policy underpinnings of the nuisance doctrine support such a cause of action for

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Case No.; 10-28090(1 2)

private nuisance in this case.! Therefore, Banner PSL’ motion to dismiss plaintiffs’ claim for
private nuisance will be granted.

Banner PSL's motion fo dismiss is denied in all other respects.

Accordingly, it is hereby

ORDERED AND ADJUDGED that Defendant Banner Supply Company Post St. Lucie,
LLC's Motion to Dismiss First Amended Class Action Complaint is GRANTED in Part as to
Count IV for .Private Nuisance. Count IV for Private Nuisance is hereby Dismissed with
Prejudice,

DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 44 day of

February, 2011.
PETER yp, WERNSTENN

WAG blew

PETER M. WEINSTEIN «RE gor

CIRCUIT COURT JUDGE pave

Michael J. Ryan, Esq., Plaintiffs Liaison Counsel & Matthew Kotzen, Esq., Defendant’s Liaison
Counsel for distribution electronically through Lexis Nexis File & Serve

' Plaintiffs, in support of their opposition to the motion to dismiss argue that Judge Farina of the Eleventh Circuit, in
the case of Seifert v. Banner Supply, Case No. 09-3887 CA 01(42), permitted the “Nuisance” count to go to the jury
after a trial of the matter. However, plaintiffs do not indicate whether, in fact, a motion to dismiss the “Nuisance”
count ever presented to, or ruled on by Judge Farina. Therefore, plaintiff's reliance on that case is misplaced.

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